Case 2:19-cv-17227-KM-ESK Document 14 Filed 11/19/19 Page 1 of 2 PageID: 67




                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


ANTHONY PINSON,
                 Plaintiff,                            Civil Action No. 2:19-cv-17227-KM-ESK


      v.


SHARMALIE PERERA, M.D., et al.,                         PRETRIAL SCHEDULING ORDER

                Defendants.




       THIS MATTER having come before the Court pursuant to Rule 16 of the Federal Rules
of Civil Procedure (the “Rules”), and the parties having reviewed the Court’s Civil Case
Management Order and Local Rules, and for good cause shown,

        IT IS on this 19th day of November, 2019.

         ORDERED a status conference is scheduled for February 25, 2020 at 10:00 a.m. in
Newark – Courtroom 8 of the U.S. Post Office and Courthouse before Magistrate Judge Edward
S. Kiel. The parties must submit a joint letter, at least three days before the conference, advising
of the status of discovery, any pending motions, and any other issues to be addressed; it is further

        ORDERED this matter will proceed as follows:

1.      Fact Discovery Deadline. Fact discovery is to remain open through May 11, 2020. All
        depositions of fact witnesses must be completed by the close of fact discovery. No fact
        discovery is to be issued or engaged in beyond that date, except for good cause shown.

2.      Motions to Add New Parties. Motions to add new parties, whether by amended or
        third-party complaint, must be filed no later than June 1, 2020.

3.      Motions to Amend Pleadings. Motions to amend pleadings must be filed no later than
        June 1, 2020.

4.      Rule 26 Disclosures. The parties shall exchange disclosures pursuant to Rule 26 no
        later than December 3, 2019.

5.      Interrogatories. The parties may serve interrogatories on or before January 3, 2020,
        limited to 25 single questions, inclusive of subparts, with responses due on February
        17, 2020.
Case 2:19-cv-17227-KM-ESK Document 14 Filed 11/19/19 Page 2 of 2 PageID: 68



6.    Document Requests. The parties may serve requests for production of documents on or
      before January 3, 2020, with responses due on February 17, 2020.
7.    Depositions. The number of depositions to be taken by each side shall not exceed 10.

8.    Electronic Discovery. The parties are directed to Rule 26(f) and Local Rule 26.1, which
      address preservation of discoverable information, discovery of electronically stored
      information, claims of privilege or work product protection, and the obligations of
      counsel concerning their clients’ information management systems.

9.    Discovery Disputes. Please refer to the Court’s Civil Case Management Order.

10.   Motion Practice. Please refer to the Court’s Civil Case Management Order.

11.   Expert Reports. All affirmative expert reports shall be served by August 10, 2020. All
      responsive expert reports shall be served by October 12, 2020. Depositions of all
      experts shall be completed by November 10, 2020.

12.   Form and Content of Expert Reports. All expert reports shall comport with the form
      and content requirements set forth in Rule 26(a)(2)(B). No expert may testify at trial as
      to any opinions or facts not substantially disclosed in the expert’s report.

13.   Extensions and Adjournments. Please refer to the Court’s Civil Case Management
      Order.

14.   Protective Orders. Proposed confidentiality orders, submitted upon the consent of
      the parties, must comply with Rule 26(c), Local Rule 5.3, and applicable case law.
      Please also refer to the Court’s Civil Case Management Order.




                                                      /s/ Edward S. Kiel
                                                     Edward S. Kiel
                                                     United States Magistrate Judge
